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July 17, 2017
Via E-mail

Attorney Kelly L. Temeyer
Walcheske & Luzi

15850 W. Bluemound Road, Suite 304
Brookfield, WI 53005
ktemeyer@walcheskeluzi.com

Re: Fast, Timothy J. vs. Cash Depot, Ltd.

Dear David:

Thank you for your recent correspondence and transmitting the Plaintiff's answers to the
Defendant’s second set of interrogatories and request to produce documents.

I belicve, however, that the responses are incomplete. We asked for not only information as to
the amount of fees and costs, but also for a description of the rates involved, the nature of the
activity conducted, the person conducting it, etc. This is the type of information that is provided
on legal bills routinely and I ask that you supplement your response to provide it. It is the type
of information that is neither overbroad nor seeks privileged or work product communications.
Instead, it is the information that would have been routinely submitted to the Court in seeking

approval of attorney’s fees.

As you are aware, your client’s claim seeks reimbursement of those fees, so that makes this
information the appropriate subject of discovery. More importantly, as you may be aware, we
have calculated the sums that would be due if every allegation in your client’s complaint were
correct and transmitted a check to your partner in that payment. With that transmittal letter we
asked for an explanation of current fees and costs, but have received nothing besides your
response to this discovery. Obtaining the information is appropriate and necessary in order to
fully compensate your client for his allegations.

Lastly, I am not insensitive to the possibility that your billing records may reveal
communications that would be privileged. I suggest the appropriate response would be to redact
a description of any privileged communications or communications that would reveal an

~ EXHIBIT.

  
 

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July 17, 2017
Page 2

attorney’s mental impressions or strategic decisions. If the redactions appear inappropriate, we
can take that issue up at that time.

Finally, there is currently a stay on all proceedings, so it is not necessary for you to have
responded to this discovery or to supplement any responses until that stay expires. I send this
correspondence solely for the purpose of alerting you now that we believe the responses are

incomplete, so that you are not misled if we need to raise the issue in the future.

I hope this letter fully explains our position, but if it does not or you have further questions or
comments please Ict me.know. Hopefully, we can resolve our disagreements without the need

for a more formal motion practice.
‘Thank you very much.
Very truly yours,

LAW FIRM OF CONWAY, OLEJNICZAK & JERRY, S.C.

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